     Case 3:20-cv-00303-RFB-VCF Document 23 Filed 05/30/20 Page 1 of 2


1

2

3                              UNITED STATES DISTRICT COURT

4                                     DISTRICT OF NEVADA

5                                                 ***

6     CALVARY CHAPEL DAYTON VALLEY,                     Case No. 3:20-cv-00303-MMD-CLB

7                                    Plaintiff,                      ORDER
             v.
8
      STEVE SISOLAK, in his official capacity
9     as Governor of Nevada, et al.,

10                               Defendants.

11

12          The Court previously denied Plaintiff’s request to consider its Emergency Motion

13   for Temporary Restraining Order and Preliminary Injunction (“Motion”) (ECF Nos. 9, 19)1

14   on an emergency basis. (ECF No. 16 (“Order”).) As noted in the Order, it is simply

15   unreasonable for Plaintiff to file the Motion around 3:30 p.m. on Thursday, May 28, 2020,

16   asking the Court to enjoin enforcement of state emergency directives imposed in

17   response to COVID-19 to allow Plaintiff to resume in-person worship services by Sunday,

18   May 31, 2020. (Id. at 1-2.) Plaintiff seeks reconsideration of the Order, explaining that it

19   had hoped Nevada’s Governor would address concerns that Plaintiff’s Pastor, along with

20   a group of other religious leaders across the state, had raised with Governor Sisolak.2

21   (ECF Nos. 20 at 3-4, 21 at 3-4.) In short, Plaintiff contends that it exercised diligence in

22   trying to resolve its dispute before bringing the Motion, though Plaintiff did not offer any

23   explanation for its delay in the Motion.

24          The Court declines to consider Plaintiff’s explanation. It is not an abuse of

25   discretion to refuse to consider new arguments in a reconsideration motion even though

26
            1Plaintifffiled the Motion as one document and later corrected its filing to reflect
27
     that the Motion encompasses two requests for relief—a temporary restraining order and
28   a preliminary injunction.
            2The   Governor opposes the motion for reconsideration. (ECF No. 22.)
     Case 3:20-cv-00303-RFB-VCF Document 23 Filed 05/30/20 Page 2 of 2


1    “dire consequences” might result. See Schanen v. United States Dept. of Justice, 762

2    F.2d 805, 807-08 (9th Cir. 1985).

3           Moreover, the Court’s Order anticipated and already rejected the reason for waiting

4    to file its Motion that Plaintiff’s motion for reconsideration now proffers. The Order

5    specifically noted:

6           To the extent Plaintiff was not certain how or when this restriction would be
            mitigated under the Governor’s phased reopening plan, Plaintiff still filed
7           this action on May 22, 2020, and should have—at a minimum—sought the
            relief sought in the Motion then. Waiting until one business day before
8           Pentecost Sunday to ask for emergency relief is simply unreasonable.

9    (ECF No. 16 at 2.) Plaintiff’s basis for seeking reconsideration is, in gist, that very

10   reason—the uncertainty associated with the Governor’s phased approach caused

11   Plaintiff to delay filing the Motion even though Plaintiff filed this action on May 22, 2020.

12   (ECF Nos. 20, 21.) Be that as it may, the fact that Plaintiff waited until one business day

13   before Pentecost Sunday to file the Motion, when Plaintiff challenges restrictions that

14   have been in place for weeks, still put Defendants and the Court in the untenable position

15   of having essentially no time to address the Motion on the merits.

16          It is therefore ordered that the motion for reconsideration (ECF Nos. 20, 21) is

17   denied.

18          DATED THIS 29th day of May 2020.

19
20
                                               MIRANDA M. DU
21                                             CHIEF UNITED STATES DISTRICT JUDGE

22

23

24

25

26

27
28

                                                  2
